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                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

   BERKELEY VENTURES II, LLC,

        Plaintiff,

   v.                                            Case No.: 1:19-CV-05523-SDG

   SIONIC MOBILE CORPORATION
   and RONALD D. HERMAN

        Defendants.                              JURY TRIAL DEMANDED




         CERTIFICATE OF COMPLIANCE WITH L.R. 7.1, N.D. GA.
       The undersigned hereby certifies that this pleading was prepared using one
of the font and point selections approved by this Court in L.R. 5.1C, N.D. Ga.
Specifically, Times New Roman font in 14 point.


                                                   By: /s/ Jason B. Godwin
                                                   Jason B. Godwin, Esq.
                                                   Georgia Bar No. 142226
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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing Objection

to Subpoena issued to Linda Rossetti with the Clerk of Court using the CM/ECF

filing system, which will send email notification of such filing to counsel.

      This 12th day of March, 2021.


                                        By: /s/ Jason B. Godwin
                                        Jason B. Godwin, Esq.
                                        Georgia Bar No. 142226

                                        Godwin Law Group
                                        Attorney for Plaintiff
                                        3985 Steve Reynolds Boulevard
                                        Building D
                                        Norcross, Georgia 30093
                                        770-448-9925
                                        770-448-9958
                                        jgodwin@godwinlawgroup.com
